     Case 1:17-cv-01953-RDM Document 35 Filed 10/26/17 Page 1 of 44




                IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF COLUMBIA

ATLAS AIR, INC. and POLAR AIR CARGO
WORLDWIDE, INC.,                       Civil Action No. 1:17-cv-01953-RDM

                      Plaintiffs,      REBUTTAL DECLARATION OF
                                       DARIN N. LEE, PH.D., IN SUPPORT
           v.                          OF PLAINTIFFS’ MOTION FOR A
                                       PRELIMINARY INJUNCTION
INTERNATIONAL BROTHERHOOD OF
TEAMSTERS; INTERNATIONAL
BROTHERHOOD OF TEAMSTERS, AIRLINE
DIVISION; and AIRLINE PROFESSIONALS
ASSOCIATION OF THE INTERNATIONAL
BROTHERHOOD OF TEAMSTERS, LOCAL
UNION NO. 1224,

                      Defendants.
         Case 1:17-cv-01953-RDM Document 35 Filed 10/26/17 Page 2 of 44




    I.   OVERVIEW AND QUALIFICATIONS
1. I am an economist and Executive Vice President in the Boston, Massachusetts office of

      Compass Lexecon. My qualifications were set forth in my first declaration in this matter

      submitted on September 24, 2017.1 I submit this rebuttal declaration in response to

      certain points raised in the declaration of Mr. Daniel Akins2 as well as the statement of

      Dr. Terry Von Thaden, the declaration of Robert Kirchner, and the opposition brief

      submitted by IBT.3 This rebuttal declaration contains a statement of my opinions as

      well as the bases for those opinions, and is supported by the work that I have performed

      or supervised to date.4 My investigation and consideration of the issues in this matter

      are ongoing, although I do not expect my conclusions to change. Accordingly, my

      opinions are subject to revision based on the work I may complete in the future and

      further documents, data, testimony, and other materials I may review. My professional




1
 See Declaration of Darin N. Lee, Ph.D., September 25, 2017 (hereinafter “Initial
Declaration”).
2
    See Declaration of Daniel Akins, October 23, 2017 (hereinafter “Akins Declaration”).
3
 See Statement of Terry L. Von Thaden, Ph.D., October 23, 2017 (hereinafter “Von Thaden
Statement”), Declaration of Robert Kirchner, October 24, 2017 (hereinafter “Kirchner
Declaration”) and Defendants’ Memorandum In Opposition to Plaintiffs Motion for
Preliminary Injunctive Relief, October 24, 2017 (hereinafter “IBT’s brief”). This rebuttal
declaration does not directly address every opinion or statement expressed in Mr. Akins’s
and Mr. Kirchner’s declarations, Dr. Von Thaden’s statement or IBT’s brief; however, this
should not be taken to imply that I agree with the statements in Mr. Akins’s and Mr.
Kirchner’s declarations, Dr. Von Thaden’s statement, or IBT’s brief that I have not
addressed.
4
  A list of additional documents and information sources considered in preparing this
rebuttal declaration is provided as Appendix A.
                                               2
       Case 1:17-cv-01953-RDM Document 35 Filed 10/26/17 Page 3 of 44




    fees for this matter are $750 per hour and my compensation is not contingent on the

    outcome of this litigation.


2. In my Initial Declaration, I described a variety of statistical analysis demonstrating how

    several measures of behavior by Atlas’s pilots began to exhibit significant changes

    relative to their historical norms after the Union sent its Section 6 notice to the Company

    on February 16, 2016. These changes in pilot behavior include: (i) an increase in the

    proportion of pilot sick calls made on short notice, (ii) an increase in the proportion of

    Atlas’s pilots reporting themselves as being unable to perform their duties due to fatigue,

    (iii) a decrease in the willingness by pilots to accept additional flying assignments

    (known as “open time”), (iv) a sharp and widespread decline in the willingness of pilots

    to depart once their aircraft is loaded and ready, and (v) an increase in the frequency that

    pilots are writing-up mechanical issues on aircraft under their command. My Initial

    Declaration also described how each of these changes in pilot behavior were well in

    excess of what conventional statistical analysis would consider to be “random”

    occurrences when compared to a historical base period (e.g., the probability that some

    of the anomalous changes in pilot behavior could have been the result of random

    statistical variation was less than one-in-one billion5) and how these changes in pilot




5
  See Initial Declaration, paragraph 19 (discussing the less than one-in-one billion
probability of the observed short-notice sick call rate since the Union sent its Section 6
notice) and paragraph 41 (discussing the less than one-in-one billion probability of the
observed rate of Atlas’s flights blocking out exactly at the ETD since the Union sent its
Section 6 notice).


                                               3
         Case 1:17-cv-01953-RDM Document 35 Filed 10/26/17 Page 4 of 44




      behavior coincide with a flurry of communications from the Union and its leadership

      encouraging its members to change their behavior relative to the status quo.6 Moreover,

      my Initial Declaration contained a regression analysis controlling for the factors that

      systematically influence prolonged delays (i.e., delays of at least six hours), which

      indicated that since December 2016, the cumulative effect of changes in pilot behavior

      such as short-notice sick calls, fatigue calls and a reduced willingness to pick-up open

      time has resulted in a 1.18 percentage point increase in prolonged delays on all Atlas

      flights, and a 3.67 percentage point increase on flights operated for the U.S. military.

      Based on the analysis summarized in my Initial Declaration, I concluded that the

      dramatic and statistically significant increase in numerous measures of pilot behavior

      and the concomitant deterioration of the Company’s operating performance and the loss

      of goodwill among many of its key customers was the result of a concerted job action

      by Atlas’s pilots aimed at exerting leverage on the Company during the current contract

      negotiations.


3. In his declaration, Mr. Akins purports to show that the underlying cause of Atlas’s

      deteriorating operational performance is not changes in pilot behavior, but rather, the

      Company’s rapid growth (coupled with an industry-wide pilot shortage that has led to

      increased attrition among Atlas’s current pilot workforce and resulted in too few pilots




6
    See Initial Declaration, footnotes 11 and 14.


                                                4
          Case 1:17-cv-01953-RDM Document 35 Filed 10/26/17 Page 5 of 44




       to support Atlas’s rapid expansion7) and increased operational complexity (arising from

       a changing customer base and proportionally more domestic flying),8 which has resulted

       in Atlas’s pilots “flying less but working more”.9 Moreover, Mr. Akins’s declaration

       claims to have identified eight “systemic problems” in my Initial Declaration: (a)

       “Operational Issues at Atlas Predate the Union’s Section 6 Notice”10; (b) “Dr. Lee

       Ignores the Dramatic Growth and Change of the Atlas Operation”11; (c) “The Alleged

       Causes Do Not Explain the Effects”12; (d) “Dr. Lee’s Causality Is Asserted, Not

       Observed”13; (e) “The Effects are Improperly Measured”;14 (f) “Lack of Randomness in

       Binomial Trials Undermines Analysis”;15 (g) “Dr. Lee’s Regressions Materially




7
  See e.g., Akins Declaration, page 25 (“The increased utilization of pilots on days off
indicates that Atlas was understaffed…”) and pages 25-26 (“The extreme growth and
changing customer base of the combined Atlas operation is occurring in an unprecedented
period of constrained pilot supply… Against this prevailing industry-wide phenomenon, it
is nearly impossible that an air carrier like Atlas would not encounter serious issues in
recruiting and retaining adequate numbers of qualified pilots.”)
8
   See e.g., Akins Declaration, page 17 (“These substantial changes have introduced
complexity and stress which has been compounded by the company’s rapid rate of growth”)
and page 18 (“All of this underlying dramatic change and extreme growth would likely
strain any business operation, let alone one as complex and global in scope as Atlas’s air
cargo networks.”)
9
    See Akins Declaration, page 21.
10
     Ibid, page 4.
11
     Ibid, page 6.
12
     Ibid, page 6.
13
     Ibid, page 7.
14
     Ibid, page 8.
15
     Ibid, page 9.


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         Case 1:17-cv-01953-RDM Document 35 Filed 10/26/17 Page 6 of 44




      Overstate the Impact of Alleged Pilot Behaviors”;16 and (h) “Dr. Lee Misrepresents

      Observational Facts, and Invents Measurements Which Do Not Exist.”17 In section II

      below, I explain why each of these criticisms are incorrect and why the analysis in Mr.

      Akins’s declaration is statistically unsound. Section II also briefly addresses certain

      points raised by Dr. Von Thaden’s statement and IBT’s brief.


II.       ANALYSIS OF CLAIMS IN MR. AKINS’S DECLARATION
      a) Mr. Akins’s Claim that “Operational Issues at Atlas Predate the Union’s
         Section 6 Notice” is Incorrect

4. A primary conclusion of my Initial Declaration was that Company’s operational

      performance began to deteriorate after the Union sent its Section 6 notice to the

      Company. For example, Exhibits 20-22 of my Initial Declaration showed the proportion

      of Atlas’s flights suffering a prolonged delay (i.e., those of at least six hours) rose

      sharply versus historical norms starting in December of 2016 (i.e., at the height of last

      year’s peak shipping season) and have remained statistically elevated to the present day.

      Likewise, Exhibit 23 of my Initial Declaration showed that since the Union sent its

      Section 6 notice, the average minutes of departure delay for Atlas flights (relative to

      their estimated time of departure (“ETD”)) has increase by 6.3 minutes.


5. Mr. Akins’s declaration contains no meaningful rebuttal to my analysis clearly

      demonstrating that Atlas’s operational performance significantly worsened after the


16
     Ibid, page 10.
17
     Ibid, page 12.


                                               6
         Case 1:17-cv-01953-RDM Document 35 Filed 10/26/17 Page 7 of 44




      Union sent its Section 6 notice. Instead, Mr. Akins responds that “[o]perational issues

      at Atlas predate the Union’s Section 6 notice.”18 Mr. Akins further claims that the “Atlas

      operation is chronically subject to delays, and the proportion of flights subject to delay

      has been steadily increasing since 2013.”19 To support this assertion, Exhibit 1 of Mr.

      Akins’s declaration shows the proportion of Atlas’s flights that arrive before, at, or after

      their scheduled arrival time (allegedly showing that a significant proportion of Atlas’s

      flights arrive at least one minute after their scheduled arrival time, and that this

      proportion began increasing before February 2016). According to Mr. Akins, it is only

      relevant to focus on arrival delays (rather than departure delays) because “[f]or air cargo

      customers, it is simply irrelevant whether a flight departs on or before its estimated

      departure time. What is important is arrival time.”20


6. Mr. Akins’s analysis is flawed on several levels. First, all airlines routinely experience

      some degree of delays, particularly when the delay measure being studied includes

      flights delayed due to weather, ATC or customer-driven reasons. Thus, because the

      estimated arrival times change for many of Atlas’s flights (vs. what was originally

      scheduled) due to weather/ATC, customer requests, or a host of other factors out of the

      control of pilots, it unclear whether Mr. Akins’s measure of operational reliability is

      even a meaningful metric to assess whether pilot actions have (or have not) caused the




18
     See Akins Declaration, page 4.
19
     See Akins Declaration, page 5.
20
     See Akins Declaration, page 8.
                                                 7
         Case 1:17-cv-01953-RDM Document 35 Filed 10/26/17 Page 8 of 44




      Company’s operational performance to suffer. Second, Mr. Akins makes no attempt (as

      I have done in my Initial Declaration) to determine whether his metric of operational

      performance (i.e., whether a flight arrives at least one minute after its Atlas’s originally

      scheduled arrival time) worsened after the Union sent its Section 6 notice. But it is

      apparent even to the naked eye that the slope of the dark blue Late Arrival line in Mr.

      Akins’s Exhibit 1 increases in early 2016 (i.e., around the time that the Union sent its

      Section 6 notice).


7. Mr. Akins further claims that “[a]ttempts to discern operational impacts of changes in

      pilot behavior, or any other change for that matter, is rendered near impossible when the

      majority of Atlas operations are already delayed.”21 This statement is simply false.

      There are well-established analytical tools commonly relied upon by economists,

      statisticians and other researchers to disentangle one effect from another on a variable

      of interest (e.g., delays), including the use of multivariate regression models that are

      specifically designed to isolate the effect of one variable holding all other variables

      fixed. Similarly, researchers can also limit the sample of flights to exclude those which

      were delayed for reasons outside of the Company’s or its pilots’ control (e.g., weather,

      ATC, customer requests, etc.). Indeed, while both of these approaches were used in my

      Initial Declaration to demonstrate whether average departure delays22 and prolonged




21
     See Akins Declaration, page 59.
22
     See Initial Declaration, Exhibit 23.


                                                 8
         Case 1:17-cv-01953-RDM Document 35 Filed 10/26/17 Page 9 of 44




      delays (i.e., those of at least six hours)23 increased after the Union sent its section 6

      notice to the Company, Mr. Akins’s failed to incorporate either approach.


      b) Mr. Akins’s Claim that the Dramatic Growth and Change of the Atlas
         Operation is the Underlying Cause the Deterioration in The Company’s
         Operational Reliability is Demonstrably False

8. As noted above, a key theme of Mr. Akins’s declaration and the IBT’s brief is that one

      of the root causes for the erosion in Atlas’s operational performance since the Union

      sent its Section 6 notice is the Company’s “unprecedented growth, the dramatic shift

      from a primarily non-scheduled to a scheduled operation, its changed customer base,

      and the expansion of the complexity of Atlas’s operation over the past several years.”24

      As discussed below, this claim is unsupported by both the facts and the data.


9. Mr. Akins argues that “[d]uring the last several years, the combined Atlas/Polar

      operation has undergone substantial changes in a very compressed time frame”25 and

      that “[a]fter the diversification of the customer base… the combined Atlas operation

      became more domestically-oriented and predominantly scheduled. These substantial

      changes have introduced complexity and stress which has been compounded by the




23
     See Initial Declaration, Exhibit 22.
24
  See Akins Declaration, page 6. See also, IBT’s brief, page 47, “the vast majority of
operational problems at Atlas are the result of rapid growth, a changing route structure and
operational profile, combined with a management failure to properly invest in adequate
capacity to service customer requirements.”
25
     See Akins Declaration, page 15.


                                               9
        Case 1:17-cv-01953-RDM Document 35 Filed 10/26/17 Page 10 of 44




      company’s rapid rate of growth.”26 Mr. Akins notes that in “[his] experience, changes

      of this magnitude, especially in the context of relevant changes to the overall industry,

      can directly cause substantial stress on the pilot workforce and the performance of the

      combined Atlas operation.”27 For the reasons described below, however, this claim does

      not withstand scrutiny.


10. To begin with, while Mr. Akins’s declaration correctly shows that Atlas’s operations

      have been evolving (see, e.g., Exhibit 4 of his declaration showing that an increasing

      proportion of Atlas’s flights are for scheduled carriers DHL and Amazon), he provides

      no credible reason as to why a more highly scheduled network should result in

      “increased complexity” for the Company. To the contrary, one would expect (and I

      have seen no data or Company testimony to suggest otherwise) just the opposite—i.e.,

      that as a greater proportion of the carrier’s operations become scheduled, it reduces

      relative complexity by making the operation more—rather than less—predictable.


11. Moreover, while Mr. Akins correctly points out that “[t]hese [customer mix] changes

      have, overall, reduced the utilization of aircraft and crews”28 his speculation that pilots

      are flying more flights in order to maintain a constant level of monthly block because of



26
  Ibid, page 17. See also Akins Declaration, page 31 (“[t]he phenomenal growth of the
combined Atlas operation throughout this period, as well as the increased complexity of the
operation -- including the addition of Amazon operations in early 2016 -- are examples of
changes in conditions which could reasonably affect pilot behavior.”)
27
     Ibid, pages 15-16.
28
     See Akins Declaration, page 19.


                                                10
        Case 1:17-cv-01953-RDM Document 35 Filed 10/26/17 Page 11 of 44




      shorter average block times is not only untethered to reality (i.e., he assumes the average

      Atlas pilot flies 70 block hours per month, even though his own Exhibit 6 shows they

      fly roughly 40), it is wholly unsupported by the data.29 For example, Exhibit 1 below

      compares several measures of pilot staffing at Atlas from the historical base period

      (column 1) to the period since the Union sent its Section 6 notice (column 3), as well as

      to an alternative base period using the same range of calendar months since the Union

      sent its Section 6 notice, but taken from the historical base period (column 2).30 As

      shown in Exhibit 1, regardless of whether one measures Atlas’s pilot utilization by the

      average number of pilot block hours per month, the number of days worked per pilot

      per month or the number of flights per pilot per month, there is no evidence to support

      Mr. Akins’s assertion that “Pilots Are Flying Less But Working More”.31




29
   See Akins Declaration, page 20: “The decline in average block time means that pilots,
on average, need to fly more trips per month to maintain the level of block hours they
achieved in prior periods. If the average Atlas pilot flew 70 block hours per month, this drop
would require each pilot, on average, to fly 3 more trips per month to make up the difference
in shorter flight time.”
30
   The rationale for showing a second base period (column 2) is that the test period (i.e., the
period since the Union sent its Section 6 notice) contains proportionally fewer peak months
(e.g., September – December) than the historical base period used in column 1. While it is
my understanding that the Union sent its section 6 notice to the Company on February 16,
2016, for simplicity I include all of February 2016 in column 3 of Exhibit 1. If February
2016 were to be excluded from the table, there would be no material change.
31
     See Akins Declaration, page 21.


                                                11
        Case 1:17-cv-01953-RDM Document 35 Filed 10/26/17 Page 12 of 44




EXHIBIT 1: COMPARISON OF ATLAS PILOT STAFFING RATIOS, PRE-AND POST-SECTION
                            6 NOTICE BY UNION

                                                                               (1)                   (2)          (3)
                                                                          Jan 2013 -              Feb 2014 -   Feb 2016 -
747s                                                                       Jan 2016                Aug 2015     Aug 2017
       Average Monthly Block per Pilot                                       48.6                    50.9         44.8
       Average Number of Days Worked per Month                               16.1                    16.6         15.6
       Average Flights per Month per Pilot                                    7.5                     7.8          6.9
767s
       Average Monthly Block per Pilot                                        26.8                   26.6         24.0
       Average Number of Days Worked per Month                                16.5                   16.6         15.6
       Average Flights per Month per Pilot                                     7.9                    8.0         7.2
 Source: Analysis of Atlas data.
 Note: Data through August 31, 2017. Monthly averages standardized to 30 day month equivalents.



12. Another potential explanation for the deteriorating performance at Atlas that Mr. Akins

      posits is that “Industry-Wide, There Aren’t Enough Pilots”32 and that “it is nearly

      impossible that an air carrier like Atlas would not encounter serious issues in recruiting

      and retaining adequate numbers of qualified pilots.”33 While it is true that the overall

      supply-demand relationship in the broader market for commercial airline pilots has

      shifted in recent years to favor pilots, for the purposes of assessing whether Atlas’s pilots

      have been engaged in concerted activity aimed at disrupting the Company’s operations,

      any alleged “pilot shortage” is only relevant to the extent that Atlas suffers from a pilot

      shortage. Similarly, Atlas—like any airline—experiences some degree of attrition

      amongst its pilots. Thus, while a more robust market for pilots may have contributed to

      relatively higher rates of attrition at Atlas (as well as other carriers) in recent years,

      higher attrition is also only relevant to the extent that it has resulted in too few pilots to



32
     See Akins Declaration, page 25.
33
     See Akins Declaration, page 26.
                                                                  12
        Case 1:17-cv-01953-RDM Document 35 Filed 10/26/17 Page 13 of 44




      fly Atlas’s schedule after taking account of how many pilots Atlas successfully hires

      and trains. However, because all of the pilot utilization figures shown in either my

      Initial Declaration or in Exhibit 1 above are limited to pilots that are already flying in

      revenue service, any alleged pilot shortage would not impact my analysis.


13. Mr. Akins also attempts to support his claim that “Pilots Are Flying Less But Working

      More”34 by purporting to show in Exhibit 7 of his declaration that pilots are away from

      base during “days on”35 more often than the historical practice at Atlas.36 However,

      Exhibit 7 of Mr. Akins’s Declaration utilizes a well-known sleight-of-hand to distort the

      facts by artificially compressing the vertical axis of his chart. To make matters worse,

      Mr. Akins does not even show the trend before 2015. Exhibit 2 corrects Mr. Akins’s

      exhibit by extending the period of time further back and resetting the axis to start at

      zero.37 Once these two corrections are made, it is clear that: (1) the increase in average




34
     See Akins Declaration, page 21.
35
  Mr. Akins’s Exhibit 7 only shows hours away from base on “days on” and does not
consider hours away from base on “days off.”
36
   Mr. Akins also notes that “To generate block time at the controls of an aircraft, Atlas
pilots are frequently required to travel long distances across multiple time zones, be away
from home for extended durations, and be “on call” for flying assignments which frequently
change to accommodate all manner of uncontrollable events, including weather, customer-
directed changes, aircraft availability, and other critical factors which are difficult or
impossible to predict.” (Akins Declaration, page 21), but what he fails to mention is that
flying at Atlas has always been that way and none of these factors have changed and
therefore these factors cannot be the source of the observed change in pilot behavior.
37
  While I am not able to exactly replicate Exhibit 7 in the Akins Declaration, the portion of
Exhibit 2 that covers the same time period closely matches Mr. Akins’s exhibit.


                                               13
        Case 1:17-cv-01953-RDM Document 35 Filed 10/26/17 Page 14 of 44




      days-on time away from base Mr. Akins references in Exhibit 7 of this declaration is

      well within the range of variation that Atlas pilots experience,38 and (2) the average time

      away from base on “days on” since the Union sent its Section 6 notice is fully consistent

      with (and indeed, slightly lower than)39 the levels typically seen at Atlas, directly

      contradicting Mr. Akins claim that “Pilots Are Flying Less But Working More.”40




38
  For example, as shown in Exhibit 2, between January 2013 and November 2013, the
average days-on time away from base increased by nearly 60 hours, and increased by over
40 hours between February and November 2014.
39
  The average monthly days-on time away from based between February 2016 and August
2017 was 276 hours, slightly less than the average from January 2011 through January 2016
of 279 hours.
40
     See Akins Declaration, page 21.


                                                14
                                                Case 1:17-cv-01953-RDM Document 35 Filed 10/26/17 Page 15 of 44




                                                      EXHIBIT 2: CORRECTED EXHIBIT 7 FROM AKINS DECLARATION

                                              350
     Average “Days on” Hours Away From Base




                                              300


                                              250


                                              200
                                                                                                                               Time period shown in Akins
                                                                                                                                  Declaration Exhibit 7
                                              150


                                              100


                                               50


                                                0
                                                    Jan 2011

                                                    May 2011




                                                    Jan 2012

                                                    May 2012




                                                    Jan 2013

                                                    May 2013




                                                    Jan 2014

                                                    May 2014




                                                    May 2015
                                                    Jan 2015




                                                    Jan 2016

                                                    May 2016




                                                    Jan 2017

                                                    May 2017
                                                    Sep 2011
                                                    Mar 2011




                                                    Mar 2012


                                                    Sep 2012


                                                    Mar 2013


                                                    Sep 2013


                                                    Mar 2014


                                                    Sep 2014


                                                    Mar 2015


                                                    Sep 2015


                                                    Mar 2016


                                                    Sep 2016


                                                    Mar 2017
                                                     Jul 2011

                                                    Nov 2011




                                                     Jul 2012

                                                    Nov 2012




                                                     Jul 2013

                                                    Nov 2013




                                                     Jul 2014

                                                    Nov 2014




                                                     Jul 2015

                                                    Nov 2015




                                                     Jul 2016

                                                    Nov 2016




                                                     Jul 2017
 Source: Analysis of Atlas data.
 Note: Data through August 31, 2017. Average “days on” time away from base is the average of each pilot’s Days On Time Away From Base RIG for the month multiplied by 4.95. Excludes
 pilots with no credit hours in the month. February of each year is adjusted to reflect a 30 day month equivalent.




14. Likewise, Mr. Akins purports to show that “Pilots are Working More on Days Off”41 in

                                              Exhibit 9 of his declaration. However, because Mr. Akins made no attempt to scale the

                                              data by Atlas’s growing number of pilots, his figure is both uninformative and

                                              misleading. Moreover, based on my analysis of the same data, Mr. Akins’s exhibit is

                                              also incorrect.42 Exhibit 3 below shows the average credit hours per pilot each month

                                              for each of the “days off’ work categories in Mr. Akins’s Exhibit 9. In addition to

                                              correcting Mr. Akins’s Exhibit 9 to accurately reflect the data, Exhibit 3 plots the



41
                 See Akins Declaration, page 24.
42
   Because I did not have the database query or computer code that was used by Mr. Akins
to construct Exhibit 9 of his declaration, I was unable to pinpoint the nature of the error that
caused the erroneous spike in the data in 2017. However, when I replicated his exhibit (and
did not scale by the number of pilots), the pattern closely resembled his exhibit with the
exception of the spike at the end.
                                                                                         15
                  Case 1:17-cv-01953-RDM Document 35 Filed 10/26/17 Page 16 of 44




        average credit hours per pilot which is a far more informative measure of pilot work

        than the index that Mr. Akins shows in Exhibit 9 of his declaration. Exhibit 3 shows

        that while work on days off was relatively high in 2015, it declined significantly after

        the Union sent its Section 6 notice to the Company and continues to be well below the

        historical peak.


     EXHIBIT 3: AVERAGE PILOT DAYS OFF CREDIT HOURS PER MONTH (CORRECTED
                       EXHIBIT 9 FROM AKINS DECLARATION)
12

                                Days Off FLT Credit
10
                                Days Off DH Credit
                                Days Off Training
 8                              Days Off TAFB Rig
                                Extended duty
 6


 4


 2


 0
                                                  11/2011
     1/2011
              3/2011
                       5/2011
                                7/2011
                                         9/2011


                                                            1/2012
                                                                     3/2012
                                                                              5/2012
                                                                                       7/2012
                                                                                                9/2012


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                                                                                                                            3/2013
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 Source: Analysis of Atlas data.                                                                                                                                                                                                                                                                                                     11/2016
 Note: Data through August 31, 2017. Excludes pilots with no credit hours in the month. Monthly averages per pilot.




15. Moreover, Mr. Akins’s broader claim that Atlas’s growth—by itself—“would likely

        strain any business operation, let alone one as complex and global in scope as Atlas’s

        air cargo networks”43 is unconvincing, particularly in light of the fact that Exhibit 2 of

        my Initial Declaration (as well as Exhibit 3 of Mr. Akins’s declaration) shows that Atlas

        has been growing its operations consistently since 2010. Thus, because rapid growth

        has been present throughout the entire period of time in my analysis (i.e., both before




43
     Ibid, page 18.
                                                                                                                                                                                   16
       Case 1:17-cv-01953-RDM Document 35 Filed 10/26/17 Page 17 of 44




     and after the Union sent its Section 6 notice), it cannot explain—as Mr. Akins asserts—

     why Atlas’s operations have recently deteriorated.


16. To more rigorously demonstrate that directly controlling for the size and scope of

     Atlas’s operations does not alter my fundamental conclusion that changes in pilot

     behavior have resulted in a deterioration in Atlas’s operational performance, Exhibit 4

     below modifies the prolonged delay regression from Exhibit 22 of my Initial Declaration

     (replicated in column 1) to explicitly control for various measures of Atlas’s size on

     complexity. For example, column 2 controls for the number of aircraft in Atlas’s fleet

     by including a Monthly Shell Count variable,44 column (3) controls for the number of

     unique destinations served in a given month by including Destinations Served per

     Month, column (4) controls for the proportion of Atlas’s operations that are domestic,

     and column (5) controls for the monthly number of departures. In each of these

     robustness tests, the added size or complexity variable is statistically insignificant,

     contradicting Mr. Akins’s assertion that the growth in Atlas’s operations or customer

     based is a root cause of the Company’s deteriorating operational performance.45

     Moreover, the estimated coefficient on D(post-Dec. 1, 2016) in columns 2-5 remain

     positive, similar in magnitude and statistically significant at the 99% level, confirming

     that even after directly controlling changes in various measures of size or complexity in


44
  Monthly Shell Count is defined as the average number of Atlas aircraft in revenue service
in a given month.
45
   These results also directly contradict IBT’s claim that Atlas “is unable to support a
growing airline of this size.” See Exhibit 119 to Supplemental Declaration of Jeff Carlson,
October 23, 2017 (hereinafter “Chairman’s Update, October 3, 2017”).
                                              17
            Case 1:17-cv-01953-RDM Document 35 Filed 10/26/17 Page 18 of 44




     Atlas’s operation, the underlying conclusion of my Initial Declaration (i.e., that changes

     in pilot behavior have resulted in a decline in the Company’s operational performance)

     remains unchanged.


 EXHIBIT 4: SENSITIVITY ANALYSIS OF PROLONGED DELAY REGRESSION TO INCLUDE
             CONTROL FOR SIZE AND SCOPE OF ATLAS’S OPERATIONS
                                                (1)                    (2)                 (3)                    (4)                  (5)
                                                               Including Monthly        Including             Including            Including
                                        Initial Declaration*
Variables                                                         Shell Count      Destinations Served   Proportion Domestic   Monthly Departures


D(Feb. 16, 2016 to Nov. 30, 2016)            -4.33e-05             -0.000944            -0.000803             -0.000667             -0.00252
                                             (0.00155)             (0.00211)            (0.00177)             (0.00162)            (0.00209)
D(post-Dec. 1 2016)                          0.0118**              0.0105**             0.0110**              0.0105**             0.00808**
                                             (0.00174)             (0.00282)            (0.00192)             (0.00212)            (0.00279)
Industry D0 Delay Rate                        0.0161                0.0157               0.0155                0.0176                0.0148
                                             (0.0124)              (0.0124)             (0.0124)              (0.0122)              (0.0125)
Monthly Block per Pilot                     0.000599**            0.000563**           0.000551**            0.000582**            0.000444*
                                            (0.000182)            (0.000191)           (0.000190)            (0.000184)            (0.000206)
Long AOS Rate                                 0.160**               0.161**              0.160**               0.159**              0.160**
                                             (0.0273)              (0.0274)             (0.0273)              (0.0272)              (0.0272)
Monthly Shell Count                                                5.85e-05
                                                                  (0.000104)
Destinations Served per Month                                                           3.16e-05
                                                                                       (3.18e-05)
Proportion of Domestic Departures                                                                              0.0111
                                                                                                              (0.0106)
Monthly Atlas Departures                                                                                                            2.91e-06
                                                                                                                                   (1.77e-06)
D(Sunday)                                     0.00383*              0.00381              0.00380               0.00412*              0.00376
                                             (0.00195)             (0.00195)            (0.00195)             (0.00195)             (0.00195)
D(Monday)                                     0.00114               0.00113              0.00113               0.00162               0.00112
                                             (0.00169)             (0.00169)            (0.00169)             (0.00175)             (0.00168)
D(Tuesday)                                    0.00182               0.00180              0.00179               0.00172               0.00175
                                             (0.00178)             (0.00178)            (0.00177)             (0.00178)             (0.00178)
D(Wednesday)                                 0.000967              0.000951             0.000944              0.000916              0.000915
                                             (0.00170)             (0.00170)            (0.00170)             (0.00170)             (0.00170)
D(Thursday)                                   0.00259               0.00259              0.00258               0.00233               0.00257
                                             (0.00179)             (0.00179)            (0.00179)             (0.00178)             (0.00179)
D(Friday)                                     -0.00138              -0.00139            -0.00139               -0.00175             -0.00140
                                             (0.00159)             (0.00159)            (0.00159)             (0.00163)             (0.00159)
Constant                                     -0.0306**             -0.0314**            -0.0332**             -0.0336**             -0.0296**
                                             (0.00953)             (0.00967)            (0.00991)             (0.00971)             (0.00958)

Observations                                   2,089                 2,089                2,089                 2,089                2,089
R-Squared                                      0.094                 0.095                0.095                 0.095                0.096
Robust standard errors in parentheses
** p<0.01, * p<0.05
 *Regression from initial declaration
 Data through September 19, 2017. Dependent variable is proportion of delays of at least 6 hours relative to STD.
 Week of year fixed effects not shown. Flights with neither uncontrollable delays nor secondary delays.


17. Nor can the absolute size of Atlas’s operations since the Union sent its Section 6 notice

     be the underlying cause of the recent increase in Atlas’s operational disruptions, as


                                                                         18
        Case 1:17-cv-01953-RDM Document 35 Filed 10/26/17 Page 19 of 44




      alleged by IBT.46 Indeed, as shown graphically in Exhibit 20 of my Initial Declaration

      (and later confirmed using the regression model summarized in Exhibit 22 of my Initial

      Declaration), throughout most of 2016, the proportion of Atlas’s flights suffering from

      prolonged delays was not statistically elevated, even though the Company was operating

      only seven fewer aircraft—on average—than it was between December 2016 and

      September 2017.47


18. Mr. Akins also criticizes the regression analysis in my Initial Declaration as being too

      complex, arguing that “[s]ometimes simple explanations are the best.”48 To support this

      position, Exhibit 12 of his declaration shows the results of a regression model where the

      dependent variable (i.e., the variable he is trying to explain) is the proportion of monthly

      Atlas flights that arrive after their scheduled departure time. In his “simple” regression

      model, Mr. Akins uses only one independent variable—the number of Atlas operations

      during the month (which he refers to as which is the Atlas’s Operational “Tempo”).

      Based on the fact that: (1) the estimated coefficient for his independent variable is

      positive and statistically significant, and (2) his regression has an R-square of 0.596, Mr.



46
  See e.g., Chairman’s Update, October 3, 2017: “While this approach might have worked
with 25 airplanes and 400 pilots, with 80 aircraft and 1500 pilots it is falling apart before
our eyes.”
47
  Source: Analysis of Atlas data. In his declaration, Mr. Akins takes issues with the fact
that I have included two sequential dummy variables to measure changes in pilot behavior
on prolonged delays. There is no logical basis for this argument, particularly given that the
second dummy variable starts during the peak of last year’s holiday shipping season, when
the Company was most exposed to potential unlawful activity by pilots.
48
     See Akins Declaration, page 27.


                                                19
        Case 1:17-cv-01953-RDM Document 35 Filed 10/26/17 Page 20 of 44




      Akins concludes that there is a “causal relationship” between Atlas’s departure growth

      and the arrival delays.49 However, it is easy to see how the use of “simple” univariate

      regressions—as Mr. Akins’s features throughout his declaration—can easily lead one to

      mistakenly conclude that there is a causal relationship between two variables when one

      does not exist. For example, if one replaces Atlas’s daily number of operations with the

      monthly closing value of the S&P 500 index, the estimated coefficient is also

      statistically significant well beyond the 99% level and the R-square of regression is over

      50% (i.e., 0.536). As a result, plotting the predicted value of a regression that replaces

      Mr. Akins’s sole independent variable (e.g., Atlas’s monthly level of operations) with

      another upward trending variable (e.g., the monthly closing value of the S&P 500 index)

      versus the actual values of Atlas’s arrival delay rate yields materially the same picture

      as Exhibit 11 in Mr. Akins’s declaration.




49
     See Akins Declaration, page 27.
                                               20
                                           Case 1:17-cv-01953-RDM Document 35 Filed 10/26/17 Page 21 of 44




                                           EXHIBIT 5: REPLICATION OF AKINS EXHIBIT 11 REPLACING ATLAS MONTHLY
                                                     DEPARTURES WITH MONTHLY S&P 500 CLOSING VALUE

                                           80%


                                           70%
     Delayed Arrivals – Share of Flights




                                           60%


                                           50%


                                           40%


                                           30%


                                           20%


                                           10%


                                           0%
                                                                                             Jan 2014




                                                                                                                                          Jan 2015




                                                                                                                                                                                      Jan 2016




                                                                                                                                                                                                                                  Jan 2017
                                                 Jan 2013

                                                            Apr 2013




                                                                                                                                                     Apr 2015



                                                                                                                                                                           Oct 2015



                                                                                                                                                                                                 Apr 2016




                                                                                                                                                                                                                                             Apr 2017
                                                                       Jul 2013

                                                                                  Oct 2013



                                                                                                        Apr 2014

                                                                                                                   Jul 2014

                                                                                                                               Oct 2014




                                                                                                                                                                Jul 2015




                                                                                                                                                                                                            Jul 2016

                                                                                                                                                                                                                       Oct 2016




                                                                                                                                                                                                                                                        Jul 2017
                                                                                                                              Actual                    Predicted
                      Sources: Analysis of Atlas data. Yahoo Finance, https://finance.yahoo.com/quote/%5EGSPC/history?p=%5EGSPC
                      Note: Data through August 31, 2017. Predicted value based on regression model including the S&P 500 index. S&P
                      500 closing price on the last day of the month.



19. Mr. Akins’s other univariate regressions suffer from similar flaws as the regression in

                             his Exhibit 12. For example, in Exhibit 14 of his declaration, Mr. Akins regresses the

                             monthly number of short-notice sick calls on the monthly number of Atlas departures

                             and concludes that the “regression of monthly pilot short-notice sick calls versus total

                             monthly Atlas departure strongly indicate a causal relationship.”50 It is no surprise that

                             Mr. Akins finds a relationship between the number of monthly short notice sick calls



50
       See Akins Declaration, page 32.
                                                                                                                                            21
       Case 1:17-cv-01953-RDM Document 35 Filed 10/26/17 Page 22 of 44




     and the number of Atlas departures as both variables are growing over time, as Atlas

     had added more aircraft—and hence more pilots—over this period of time. Because

     Atlas is a growing carrier, it is important to use a measure that captures not simply the

     number of short-notice sick calls (which will depend on the number of pilots), but rather

     pilots’ propensity to make short-notice sick calls. This is precisely what I do in Exhibit

     5 of my Initial Declaration where I plot the proportion of sick calls made on short notice

     sick over time. Moreover, putting aside the flaws in how Mr. Akins constructed the

     variables in his regression, a more significant problem is that he makes no attempt to

     use his regression to test whether there has been a change in this aspect of pilot behavior

     since the Union sent in Section 6 notice.


20. Exhibit 6 below demonstrates what happens when you correct for the flaws in Exhibit

     14 of Mr. Akins’s declaration. Column 1 of Exhibit 6 below replicates his model, while

     column 2 shows the results when three corrections to his regression are made: (1) I use

     the monthly proportion of short-notice sick calls as the dependent variable—a measure

     that would not be expected to grow proportionally to the Company’s size or number of

     pilots—instead of the number of short-notice sick calls, (2) I replace the total number of

     monthly Atlas departures with the average number of flights per pilot,51 and (3) I add as

     a second variable to the regression a dummy variable which takes the value 1 for all

     observations on or after February 2016 and is zero otherwise, denoted D(post-Feb



51
  Unlike total monthly number of flights at the Company (which Mr. Akins uses), I would
expect that the number of flights per pilot could be an important potential explanatory
variable for short-notice sick calls since it measures of how much pilots are flying at Atlas.
                                                 22
     Case 1:17-cv-01953-RDM Document 35 Filed 10/26/17 Page 23 of 44




   2016). The results of this regression show that estimated coefficient for average flights

   per pilot is positive but not statistically significant, however, the coefficient on the

   D(post-Feb 2016) dummy variable is statistically significant at the 99% level. Simply

   put, Mr. Akins’ own regression model (suitably corrected) is fully consistent with the

   finding from my Initial Declaration that short-notice sick calls increased after the Union

   sent its Section 6 notice, a point that remains true even after one controls for the amount

   pilots are flying.


EXHIBIT 6: REPLICATION AND CORRECTION OF MR. AKINS’S EXHIBIT 14 (EXAMINING
                         SHORT NOTICE SICK CALLS)

                                                             (1)                           (2)
                                                  Replication of Akins Correction of Akins
         VARIABLES                               Regression Exhibit 14 Regression Exhibit 14

         Dependant Variable                         Number of Short                Share of Short
                                                    Notice Sick Calls             Notice Sick Calls
         D(post-Feb 2016)                                                             0.0552**
                                                                                      (0.0134)
         Monthly Departures                               0.0289**
                                                         (0.00267)
         Average Flights per Pilot                                                      0.00674
                                                                                       (0.00939)
         Constant                                         -45.51**                       0.0914
                                                           (7.200)                      (0.0721)

         Observations                                        56                           56
         R-squared                                          0.684                        0.253
         Standard errors in parentheses
         ** p<0.01, * p<0.05
         Source: Analysis of Atlas data.
         Note: Data through August 31, 2017. Column (1) is a replication of the regression in Exhibit 14
         of the Akins Declaration.


21. Similar corrections can be made to the regression in Exhibit 18 of Mr. Akins’s

   Declaration, where the monthly number of fatigue calls is regressed on the monthly

                                                       23
        Case 1:17-cv-01953-RDM Document 35 Filed 10/26/17 Page 24 of 44




      number of Atlas departures.52 Again, it is no surprise that Mr. Akins finds a positive

      relationship between the number of monthly pilot fatigue calls and the number of Atlas

      departures, as one might expect the number of fatigue calls to increase proportionally

      with Atlas’s operations.53 And just like his short-notice sick regression, Mr. Akins

      makes no attempt to use his fatigue regression to test whether pilot fatigue rates changed

      after the Union sent its Section 6 notice. Exhibit 7 below demonstrates what happens

      when you correct for the flaws in Exhibit 18 of Mr. Akins’s declaration. Column 1 of

      Exhibit 7 below replicates his model, while column 2 shows the results when three

      corrections to his regression are made: (1) rather than the level of fatigue calls, I use

      fatigue calls per 1,000 pilots as the dependent variable, (2) I replace the number of

      monthly Atlas departures with the average number of flights per pilot,54 and (3) I add

      the same D(post-Feb 2016) dummy variable described above. The results of this

      regression show that while the estimated coefficient for average flights per pilot is

      statistically significant at the 95% level, the coefficient on the D(post-Feb 2016)

      dummy variable is statistically significant at the 99% level. Thus, consistent with the

      analysis in my Initial Declaration, a corrected version of Mr. Akins’s own fatigue




52
     See Akins Declaration, page 39.
53
   Because of the growth in Atlas’s operations, Exhibit 7 of my Initial Declaration plotted
the number of monthly fatigue calls per 1,000 active pilots instead of the un-scaled number
of monthly fatigue calls (see Initial Declaration at page 27).
54
 Similar to the regression in Exhibit 6, I would expect that the number of flights per pilot
would be a more important potential explanatory variable for fatigue calls than the total
monthly number of flights at the company.


                                               24
       Case 1:17-cv-01953-RDM Document 35 Filed 10/26/17 Page 25 of 44




     regression indicates that pilot fatigue calls at Atlas have been statistically elevated since

     the Union sent its Section 6 notice in February 2016.55


 EXHIBIT 7: REPLICATION AND CORRECTION OF MR. AKINS’S EXHIBIT 18 (EXAMINING
                              PILOT FATIGUE)

                                                                   (1)                          (2)
                                                       Replication of Akins Correction of Akins
           VARIABLES                                  Regression Exhibit 18 Regression Exhibit 18

           Dependant Variable                                Number of                 Fatigue Calls per
                                                            Fatigue Calls                1,000 Pilots
           D(post-Feb 2016)                                                                 17.30**
                                                                                            (3.563)
           Monthly Departures                                  0.0268**
                                                              (0.00288)
           Average Flights per Pilot                                                         6.293*
                                                                                             (2.584)
           Constant                                            -64.46**                      -45.85*
                                                               (8.367)                       (21.20)

           Observations                                            38                          38
           R-squared                                             0.706                        0.461
           Standard errors in parentheses
           ** p<0.01, * p<0.05
           Source: Analysis of Atlas data.
           Note: Data through August 31, 2017. Column (1) is a replication of the regression in Exhibit 18 of the
           Akins Declaration.




55
   By the same token, the assertion by Mr. Akins on page 38 of his declaration that I
“jump[ed] to [an] odd and counterfactual conclusion” based on the profile of fatigue rates
shown in Exhibit 17 of his declaration is simply incorrect. As noted in Exhibit 11 of my
initial declaration, average block hours for Atlas’s pilots had been declining during the
period after the Union sent its Section 6 notice compared to the period before. Likewise,
footnote 41 of my initial report pointed to several additional factors potentially related to
fatigue I had considered and ruled out. Moreover, to the extent that pilot fatigue rates
increased in 2015 relative to 2014, this is largely a reflection of the increase in pilot
utilization in 2015 which is also apparent from Exhibit 11 of my initial declaration.


                                                              25
       Case 1:17-cv-01953-RDM Document 35 Filed 10/26/17 Page 26 of 44




     c) Mr. Akins’s Claim that “The Alleged Causes Do Not Explain the Effects” is
        Unfounded

22. Mr. Akins contends that in order to establish an unlawful job action by Atlas’s pilots, I

     would need to: (a) demonstrate that Union communications successfully directed or

     steered pilot behavior, (b) show conclusively that Union orchestrated pilot behavior

     impacted the Atlas operation in a material way and (c) show that changes in the Atlas

     operation were meaningful, detrimental, and would not have occurred on their own.

     While this is precisely what has been demonstrated in my Initial Declaration,56 Mr.

     Akins attempts to cast doubt on my conclusions by arguing that I did not “establish firm

     causal relationships that link alleged Union activity to pilot behavior, or pilot behavior

     to a deterioration in the Atlas operation.”57 These criticisms, however, flow from a




56
   See Initial Declaration, page 8: “Based on a statistical “regression” model that controls
for the factors that systematically influence the ability of pilots to depart when their aircraft
is loaded and ready, the proportion of Atlas’s flights departing when loaded and ready has
plunged by 35.0 percentage points since the Union sent its Section 6 notice, while the
proportion of Atlas’s flights departing exactly at the estimated time of departure increased
by 31.9 percentage points. Both changes in behavior are statistically significant at the 99%
level of confidence and coincide with several communications by the Union’s leadership
directing its members to engage in a “BOOT” (i.e., Block Out On-Time) campaign.” See
also, Initial Declaration, page 48 and Initial Declaration, Exhibits 14 and 22.
57
   See Akins Declaration, page 7. Mr. Akins also alleges that I did not establish that “an
allegedly-deteriorating operation worked to the detriment of the Company’s customer
relationships” (Akins Declaration, page 7). However, based on the customer complaints
enumerated in Declarations of Mr. Carlson (cited in my Initial Declaration) and Mr. Flynn,
there should be no doubt that the Company’s deteriorating operation has resulted in a loss
of customer good will. See Initial Declaration footnote 13 citing Carlson Declaration Ex.
86 (quoting an e-mail from a customer, which stated: “The expectation was set to depart
ASAP upon quick-turn of the aircraft to ensure an on-time arrival . . . . The aircrew refused
to depart until the ‘scheduled’ time set by Atlas (2039Z).”); Declaration of William J. Flynn,
October 20, 2017 (hereinafter “Flynn Declaration”), page 6 (“One CEO recently told me he

                                               26
       Case 1:17-cv-01953-RDM Document 35 Filed 10/26/17 Page 27 of 44




     profound lack of understanding regarding the use of statistical analysis to assess

     aggregate changes in a measures of interest (e.g., pilot sick or fatigue calls, flight delays,

     etc.) when each individual event that comprise the average may be influenced by random

     and/or unobservable factors.58 By combining multiple individual events at a more

     aggregate level (e.g., all of the flights in a given day, all of the fatigue calls in a given

     month, etc.), these random and/or unobservable factors that have the potential to

     influence individual events tend to average out, thereby allowing the researcher to more

     accurately identify the impact of systematic factors on the overall rate.59 By comparing

     the observed average rate for particular measure of interest to its historical distribution,

     one can ascertain with a high degree of certainty the likelihood that the observed rate is

     due to factors other than random statistical variation. And when one further rules out




would have rather spoken to me about potential growth opportunities, but instead he had to
talk to me concerning pilot behavior and its impact on the quality of Atlas’ services.”).
58
   For example, a pilot may call in sick on short notice because of a legitimate case of food
poisoning. However, because food poisoning events are likely to occur randomly, their
impact on the aggregate rate of short-notice pilot sick calls over an extended period of time
is not expected to be systematic. By the same token, while a specific pilot fatigue call may
be due to the legitimate factors identified on page 3 of Dr. Von Thaden’s statement such as
“sleep loss, time of day, time spent awake since last sleep, duration of last sleep,” these
idiosyncratic factors average out when analyzing aggregate data and neither Dr. Von Thaden
nor Mr. Akins have identified any credible, systematic change in the factors that would
affect the aggregate rate of fatigue calls. Similarly, individual communications by between
pilots and the Union are inherently unobservable.
59
   The use of aggregate-level data comprised of individual events to study changes in
behavior or operational performance is common in empirical analysis of the airline industry.
See, e.g., Darin Lee and Nicholas Rupp, “Retracting a Gift: How Does Employee Effort
Respond to Wage Reductions?”, Journal of Labor Economics, Volume 25, Number 4,
October 2007, pp. 725-762 and Mas, Alexandre. “Pay, reference points, and police
performance.” The Quarterly Journal of Economics 121.3 (2006): 783-821.
                                                27
        Case 1:17-cv-01953-RDM Document 35 Filed 10/26/17 Page 28 of 44




      other potential explanations for a statistically significant change either directly (e.g.,

      through the use of a control variable in a regression or an examination of how the

      potential cause changed over time) or indirectly (e.g., by carefully restricting the set of

      data to examine to exclude certain events, as I have done), economists can have a high

      degree of confidence that a statistically significant change can be attributed to outside

      factors (e.g., efforts by pilots to disrupt Atlas’s operations) even when each of the

      underlying motivation or cause for each individual event or communication is

      unobservable.


23. Finally, Mr. Akins’s criticisms of the methodological approach used in my Initial

      Declaration to assess whether pilots have been engaged in unlawful activity aimed at

      disrupting the Company’s operations are curious in light of the fact that in his own

      declaration, he concludes that “Arrival Delays Have Been Caused by Growth in the

      Atlas Operation”60 based on nothing other than a spurious regression of two variables

      that happen to have the same trend over time (see paragraph 18 above).


      d) Mr. Akins’s Claim that “Dr. Lee’s Causality is Asserted, Not Observed” is
         Unfounded

24. Mr. Akins also argues that because the regressions in my Initial Declaration make use

      of one or more “dummy variables” to proxy for the aggregate impact of changes in pilot

      behavior on a particular independent variable of interest (e.g., prolonged delays),




60
     See Akins Declaration, Exhibit 11 (emphasis added).


                                                28
         Case 1:17-cv-01953-RDM Document 35 Filed 10/26/17 Page 29 of 44




      causality is “asserted, not observed”.61 In particular, Mr. Akins alleges that the use of

      dummy variables “is not appropriate for variables which are not binary”62 and that “the

      dummy variables in Dr. Lee’s statistical analyses are only useful in assigning causality

      to specific points in time; these dummy variables do nothing to explain what may have

      been occurring at those points in time.”63 This criticism further illustrates Mr. Akins’s

      lack of familiarity with econometric analysis and how dummy variables are used to

      conduct “event study” analyses to determine whether there has been a systematic change

      in the dependent variable (e.g. prolonged delays) beginning at a specific point in time

      after controlling for other factors that would be expected to influence the dependent

      variable of interest. In the case of the prolonged delay regressions in Exhibit 22 of my

      Initial Declaration, not only do I control for factors that would be expected to effect the

      rate of prolonged delays (e.g. monthly block per pilot and the long AOS rate), I also

      carefully restrict the sample of flights so that it only includes flights that were not

      delayed for reasons outside of the Company’s or pilot’s control.64 Because my analysis

      controls for or eliminates the other factors expected to have an effect on the prolonged




61
     See Akins Declaration, page 7.
62
     Ibid.
63
     See Akins Declaration, page 8.
64
   See Initial Declaration, page 60. In other words, I control for weather-, ATC-, or
customer-driven delays by removing those delays from the sample and estimating a
regression for the remaining prolonged delays. Additionally, if I further refine the sample
used in column 1 of Exhibit 22 of my Initial Declaration to exclude all flights with any
delays for maintenance reasons, the results remain qualitatively similar.


                                                29
         Case 1:17-cv-01953-RDM Document 35 Filed 10/26/17 Page 30 of 44




      delay rate, the estimated coefficient on the D(post-Dec 1, 2016) is correctly interpreted

      as measuring the aggregate impact of various changes in pilot behavior as directed by

      the Union communications on prolonged delays.


      e) Mr. Akins’s Claim that “The Effects are Improperly Measured” is Unfounded

25. Mr. Akins claims that I have not “link[ed] the alleged behavior to a tangible, material

      operational impact”65 and that in my “analysis of the impact of pilot behavioral change

      on Atlas’s operation, [I] chose to measure “delays” in terms of whether there was a

      change after February 2016 in the share of Atlas flights departing at or prior to the

      estimated departure time.”66 But what Mr. Akins fails to understand is that my analysis

      of the increase in the proportion of Atlas flights departing exactly at the ETD was

      principally an analysis of a change in pilot behavior (i.e., the IBT’s BOOT program).67

      While the BOOT program has had undoubtedly contributed to Atlas’s deteriorating

      operational performance,68 the primary measure of operational impact that I analyze is




65
     See Akins Declaration, page 8.
66
     Ibid.
67
  See Initial Declaration, Exhibit 14 and Initial Declaration, page 48, citing a June 20, 2016
video recording titled CBA Chat “starting immediately, your ExCo are requesting that we
all strive to block out on time. No early departures.” (emphasis added).
68
   For example, Exhibit 23 of my Initial Declaration demonstrated that since the Union sent
its Section 6 notice, Atlas’s average departure delay relative to ETD had increased by 6.3
minutes. And as described in the Declaration of Jeff Carlson, September 25, 2017, at
paragraph 32, “Because Atlas pilots are refusing to depart when their aircraft is fully loaded,
it is now routine for aircraft to get backed up, causing pressure on the customers’ systems.”
See also Carlson Declaration at paragraph 33: (“Thus, when pilots intentionally wait until
the estimated departure time to leave even though they were cleared to depart, it deprives

                                               30
        Case 1:17-cv-01953-RDM Document 35 Filed 10/26/17 Page 31 of 44




      the proportion of Atlas flights with delays of at least six hours. For Atlas’s customers a

      delay exceeding six hours is far from irrelevant and constitutes a material operational

      impact.69


      f) Mr. Akins’s Claim that “Lack of Randomness in Binomial Trials Undermines
         Analysis” is Unfounded

26. Mr. Akins also fails to understand the binomial probability tests I utilize to estimate that

      the probability of observing, for example, the high proportion of pilot sick calls

      occurring on short notice and the high rate of pilot fatigue calls. Referring to what Mr.

      Akins calls “extreme growth and change”70 he asserts that “In these circumstances

      where conditions are dramatically changing over time, a binomial trial is simply not

      useful in the assessing the significance of changes in pilot behavior.”71 However, Mr.

      Akins has done nothing to show that the operation has changed in such a way as to alter

      pilot behavior. In fact, I demonstrated that not only has the growth at Atlas been present




Atlas and its customers of the aforementioned benefits, and Atlas’ customers become
dissatisfied with the Company’s operational performance.”
69
   See Carlson Declaration, page 71 (“[N]ot only does a significant extended delay result in
missed customer deadlines for the delayed flight, the ripple effects of a single extended
delay can, and often do, last for days and negatively impact multiple customers’ flights and
cargo.”); Flynn Declaration, page 5 (“For some large customers liked DHL . . . a late arrival
by Atlas may mean that thousands of packages are delayed by an entire day, causing a
service failure by DHL to its own customers, and enormous inconvenience to the members
of the public.”), page 6 (“Numerous military flights have been severely delayed causing our
troops to arrive late to military zones and without the critical supplies they need, putting
their lives and missions in jeopardy.”).
70
     See Akins Declaration, page 10.
71
     See Akins Declaration, page 10.


                                               31
         Case 1:17-cv-01953-RDM Document 35 Filed 10/26/17 Page 32 of 44




      for the entire period of my analysis72 but also that other potential causes of the change

      in pilot behavior such as pilot utilization measures at Atlas have not changed.73 Thus

      the binomial probability tests I utilize are correctly interpreted as measuring the

      probability that the observed changes in pilot behavior cannot be due to random

      variation.


      g) Mr. Akins’s Claim that “Dr. Lee’s Regressions Materially Overstate the Impact
         of Alleged Pilot Behaviors” is False

27. Mr. Akins alleges that the regressions in my Initial Declaration “suffer from a common

      set of misinterpretations and fatal flaws”74 including “[o]verstated causality,”75 using

      “multiple variables in an attempt to assess causality in his regressions,”76 “[u]nnecessary

      complexity”77 and “[l]inear redundancy.”78 All of these criticisms are unfounded and

      demonstrate Mr. Akins’s lack of understanding of the multivariate regression and

      econometric analysis used in my Initial Declaration.




72
   See Initial Declaration Exhibit 2. Importantly, this growth was present long before the
change in pilot behavior.
73
     See Initial Declaration footnote 41 and Initial Declaration Exhibit 11.
74
     See Akins Declaration, page 10.
75
     Ibid.
76
     See Akins Declaration, page 11.
77
     Ibid.
78
     See Akins Declaration, page 12.


                                                32
       Case 1:17-cv-01953-RDM Document 35 Filed 10/26/17 Page 33 of 44




28. For example, Mr. Akins focuses heavily on the R-squared values (a measure of statistical

     “fit”) of my regressions and asserts that “The r squared value of any regression model

     indicates the degree to which one observation explains or causes changes in the other.

     Low r-square values generally indicate weak relationships between variables.”79 This

     statement is simply wrong. While the r-squared does measure how much of the variation

     of the dependent variable is explained by all the independent variables, it provides no

     insight into the strength of the relationship between variables. Further, Mr. Akins’s

     view of how to utilize R-square is not how R-squared estimates are generally used by

     economists.    As noted in a well-known econometrics textbook, “[i]n general,

     econometricians are interested in obtaining ‘good’ parameter estimates where ‘good’ is

     not defined in terms of R2. Consequently the measure of R2 is not of much importance

     in econometrics.    Unfortunately, however, many practitioners act as though it is

     important.”80 Indeed, it is the parameter (i.e., explanatory variable) estimates that are



79
  See Akins Declaration, pages 10-11. Similarly, Mr. Akins, in referring to my regression
results, also states that “In many cases, these r-square values are less than 50%, indicating
that Dr. Lee’s alleged causes – in combination – explain the alleged effects with less
accuracy than a coin toss.” Ibid. There is simply no statistical basis for this statement, given
that r-squared estimates are not measures of probability, but rather, measures of systemic
variation, unlike a coin toss, which is inherently random.
80
   Kennedy, Peter. A Guide to Econometrics. MIT press, second edition, 1985 at page 27
(emphasis added). Moreover, many peer-reviewed academic papers, including those
studying the causes of airline delays and cancellations, routinely have R-square values well
below what Mr. Akins apparently deems to be an acceptable level (i.e., 50%). See, e.g.,
Nicholas Rupp, “Do carriers internalize congestion costs? Empirical evidence on the
internalization question”, Journal of Urban Economics, 65 (2009), pp. 24-37 (reporting the
results of several departure and arrival delay regressions with R2s ranging from 0.01 to
0.07).


                                              33
        Case 1:17-cv-01953-RDM Document 35 Filed 10/26/17 Page 34 of 44




      of interest in my analysis and these parameter estimates clearly indicate with very high

      degrees of statistical significance (well in excess of 99%) that: (1) there has been a

      demonstrable change pilot behavior since the Union sent its Section 6 notice, 81 and (2)

      that there has been an increase in the proportion of Atlas flights with prolonged delays

      since December 1, 2016 that cannot be explained by—as Mr. Akins claims—Atlas’s

      growth or changes in the amount Atlas’s pilots are working.82


29. Similarly, Mr. Akins makes the bizarre claim that “[i]f pilot behavior is truly the reason

      for some variation in the Atlas operation, he could have shown the relationship on its

      own, without the additive effect of multiple other variables.”           Multiple variable

      regressions are a standard tool used by economists (as well as researchers in many fields)

      to determine the effect that one variable has on another variable, holding the effects of

      all other variables constant. The importance of these additional control variables that

      Mr. Akins finds objectionable cannot be understated. As is standard practice among

      virtually all economists, I include multiple control variables in order to isolate the effect

      of changes in pilot behavior from other factors that would be expected to influence the

      dependent variable (e.g. prolonged delays). For example, it would make no sense to

      exclude the control variable Long AOS rate (i.e., the proportion of Atlas’s fleet on a

      given day that were out-of-service for at least four hours) from the regression in Exhibit




81
     See e.g. Initial Declaration, Exhibit 14.
82
     See e.g. Initial Declaration, Exhibit 22, and Exhibit 4 above.


                                                 34
         Case 1:17-cv-01953-RDM Document 35 Filed 10/26/17 Page 35 of 44




      22 of my Initial Declaration, because it is reasonable to believe that this may affect the

      prolonged delay rate. Therefore, failing to control for this variable would potentially

      bias the estimated coefficient for the D(post-Dec 1, 2016) variable.83 Another criticism

      Mr. Akins directs at the regressions used in my Initial Declaration is that they involve

      “the utilization of independent variables which are related to each other in a linear

      fashion”84 and that this multicollinearity “appears to be the source of potential errors in

      Dr. Lee’s regression analyses.”85 Like Mr. Akins’s other criticisms of my regressions,

      this concern is completely unfounded and has no econometric or statistical basis. In

      fact, even if some of the control variables I use were related to each other as Mr. Akins

      contends,86 it would have no adverse impact on the other explanatory variables in my




83
  See e.g., Kennedy, Peter. A Guide to Econometrics. MIT press, second edition, 1985 at
page 69, noting that if a regression suffers from the “omission of a relevant independent
variable” then“[i]n general, the OLS estimated of the coefficients of the remaining variables
are biased.” Similarly, Mr. Akins’s claim that my regressions summer from “unnecessary
complexity” (Akins Declaration, page 11) ignores the important role that control variables
have for proper estimation of explanatory effects.
84
     See Akins Declaration, page 12.
85
     Ibid.
86
   Without doing any analysis, Mr. Akins makes the claim that he “would expect that the
following explanatory variables used in his regression model are highly correlated and
suffer from multicollinearity: a. Monthly Atlas Departures and Daily Atlas Departures; b.
Monthly Average Flight Time, Monthly Pilot Block Time and Daily Pilot Block Time; c.
Average Age of Aircraft, Percent of Aircraft in Unscheduled Maintenance, and New MELS
per aircraft.” (Akins Declaration, pages 57-58).


                                                35
         Case 1:17-cv-01953-RDM Document 35 Filed 10/26/17 Page 36 of 44




      regression including the main variable of interest, the dummy variable that measures the

      effects of the IBT’s job action.87


      h) Mr. Akins’s Claim that “Dr. Lee Misrepresents Observational Facts, and
         Invents Measurements Which Do Not Exist” is Unfounded

30. Finally, Mr. Akins also asserts that I “[distort my] analysis and adjusts the reference

      point for assigning [my] dummy variables”      88
                                                          and that I “concocted a non-existent

      measurement.”89 Like Mr. Akins other criticisms of my regressions, these claims have

      no basis. Mr. Akins is objecting to my use of a dummy variable for the period beginning

      in December 2016 in Exhibits 20-22 of my Initial Declaration.90 But what he fails to

      note is that in my Initial Declaration I explained that “D(post-Dec 1, 2016) captures the

      effect of more recent changes in pilot fatigue calls, short-notice sick calls, and an




87
  See e.g., Kennedy, Peter. A Guide to Econometrics. MIT press, second edition, 1985 at
page 147 noting that, “The major undesirable consequence of multicollinearity is that
variances of the OLS estimates of the parameters of the collinear variables are quite large.”
88
     See Akins Declaration, page 13.
89
     Ibid.
90
  “Dr. Lee chose to segment the delay data into two separate post-Section 6 periods; one
for each day of the nine (9) month period February 16, 2016 through November 30, 2016,
and a second period beginning December 1, 2016 through September 2017, each with its
own separate average. There is no credible event to define these segments, and therefore it
appears that Dr. Lee has force fit the available data to meet his narrative. Segmenting the
data subjectively in this way with no defining rationale opens up the possibility to justify
segmenting data in this and other measures into a multitude of other periods.” (Akins
Declaration, page 49).


                                               36
        Case 1:17-cv-01953-RDM Document 35 Filed 10/26/17 Page 37 of 44




      unwillingness to pick up open time that started to rise more prominently towards the end

      of 2016”91 (i.e. during the Company’s peak season).


31. Moreover, the “non-existent measurement”92 that Mr. Akins objects to is my use of the

      phrase “loaded and ready.” But this simply refers to the past practice at Atlas, of pilots

      departing once the aircraft was loaded and ready instead of the demonstrable change in

      behavior to depart at the exact minute of the ETD as evidenced in exhibits 12 and 13 of

      my Initial Declaration. Because it would be illogical for any Atlas flight to depart

      without being loaded and ready, there is no simply no basis for Mr. Akins’s claim that

      because I did not rely on a specific variable denoted “loaded and ready,” the use of the

      term to describe the effects of the Union’s “BOOT” campaign suffers from a

      methodological flaw.


      i) Analysis of Certain Other Claims Made by Mr. Akins or Mr. Kirchner

32. Seemingly ignoring the fact October 2016, December 2016 and March of 2017 had far

      and away the highest proportion of open times trips that were not filled since the

      Company began collecting data on open time trips, Mr. Akins claims that “[w]ith the

      exception of three months (October 2016, December 2016 and March of 2017) the

      increased share of open time trips left uncovered starting in September 2016 appears

      connected to the drop in the volume of open time trips available.”93 Putting aside the



91
     See Initial Declaration, page 61.
92
     See Akins Declaration, page 13.
93
     See Akins Declaration, pages 44-45.
                                               37
        Case 1:17-cv-01953-RDM Document 35 Filed 10/26/17 Page 38 of 44




      illogical implications of this argument (i.e., that fewer available opportunities for pilots

      to earn extra income implies that fewer pilots would be interested in those

      opportunities), Mr. Akins then speculates (without foundation) that “it is possible that

      the number or proportion of desirable trips has decreased”94 and suggests that these

      unfilled open time trips have had “extremely limited impact on delays and customer

      goodwill.”95 But this unsupported assertion directly contradict the actual experience of

      Company officials with direct knowledge of the impact of the decline in open time trip

      acceptance.96


33. Mr. Akins is not alone in making unsupported claims regarding open time. For example,

      in support his proposition that Atlas is understaffed, Mr. Kirchner’s declaration claims

      that “in September of 2017, Atlas published more than 160 open time flights.”97 What

      the Mr. Kirchner fails to mention, however, is that the number of open time trips the

      Company published in September 2017 is by no means atypical for Atlas during a month




94
     See Akins Declaration, page 46 (emphasis added).
95
     See Akins Declaration, page 46.
96
   See Carlson Declaration, paragraph 27: (“The concerted effort not to volunteer for and
accept open flying has caused significant delays. When pilots do not volunteer for open
trips, Atlas must staff them with reserves who may be far away from the aircraft’s location
or wait for another pilot to become available. Because Atlas’ reserve and other pilot
resources are already stretched because of a concerted sick-out and significant increases in
fatigue calls, Atlas has not had the resources to cover all open trips.”)
97
   See Kirchner Declaration, page 25. See also Chairman’s Update, October 3, 2017
(“[d]oes nearly 170 open time trips for the month of September 2017 alone, sound like a
fully staffed airline to you? Me neither.”).


                                                38
       Case 1:17-cv-01953-RDM Document 35 Filed 10/26/17 Page 39 of 44




     leading into the peak shipping season. For example, as shown in Exhibit 8, Atlas had

     roughly the same number (or more) open times trips between September 2015 and

     December 2015 (i.e., the last peak prior to when the Union sent its Section 6 notice)

     even though the size of the Company’s operations during this period were smaller than

     they are today (see, e.g., Exhibit 2 of my initial declaration).98 Nevertheless, as Exhibit

     9 of my initial declaration showed, the proportion of open time trips that went unfilled

     in late 2015 never exceeded 5%, compared to the period after the Union sent its Section

     6 notice where the rate frequently exceeds 10%, and has reached 42% in one month.99




98
  Although Mr. Kirchner’s declaration refers to more than 160 open time trips in September
2017, an analysis of the data shows that there were 141 actual open time trips that month
(note that because of the manual process by which open-time trips are numbered each
month, it is not uncommon for certain numbers to be skipped).
99
  Mr. Kirchner’s assertion that he is “not aware that any open time trips have gone unfilled”
(Kirchner Declaration, page 26) is in direct contradiction to the Company’s data. See Initial
Declaration, Exhibit 9.


                                               39
         Case 1:17-cv-01953-RDM Document 35 Filed 10/26/17 Page 40 of 44




                              EXHIBIT 8: NUMBER OF MONTHLY OPEN TIME TRIPS




 Source: Analysis of Atlas data.
 Note: Data through September 30, 2017. Excludes trips published after the original scheduled departure time.



34. Mr. Akins also acknowledges that “the number of mechanical write-ups by pilots

      increased in 2016”100 but without providing any evidence, speculates that “it is plausible

      that mechanical write-ups normally reported by mechanics got reported instead by Atlas

      pilots.”101 Mr. Akins even acknowledges the possibility that “… mechanics write ups




100
      See Akins Declaration, page 63.
101
      See Akins Declaration, page 63 (emphasis added).


                                                                             40
        Case 1:17-cv-01953-RDM Document 35 Filed 10/26/17 Page 41 of 44




      decreased as a result of increased pilot write- ups”102, consistent with directive from the

      Union to take all actions to exert leverage on the Company.103


35. Finally, in reference to my analysis of taxi times, Mr. Akins comments that “[i]n a global

      operation of Atlas size there is surely no operational impact Dr. Lee could point to

      related to taxi times.”104 However, what Mr. Akins neglects to point out is that nowhere

      in my initial declaration do I claim that the increased taxi times—by themselves—has

      resulted in widespread operational disruption for Atlas. Rather, the increase in taxi times

      is yet another example of a statistically significant change in behavior that was expressly

      directed by the Union and that Atlas’s pilots have exhibited since the Union sent its

      Section 6 notice.105




102
      See Akins Declaration, pages 64-65.
103
    See Supplemental Declaration of Jeff Carlson, October 23, 2017, page 9, quoting the
Captain Kirchner speaking on the September 16, 2016 Crew Call: “no excuses anymore . .
. for not abiding by what we have set up for you. None. Zero . . . This could get done in a
real hurry if everybody starts marching lockstep and stops doing everybody’s job for them,
like hotels, like scheduling, like maintenance and just pretending that—that, oh, they didn’t
know or this excuse or that excuse . . . Everybody knows what our stance is, and everybody
knows what’s going on here . . . So the more in line you are, the better and the faster this is
going to happen. It all comes down to brass knuckles pressure . . . I mean this is hard core
stuff, ladies and gentlemen. And until you are willing to belly up for it . . . it’s going to take
a really long time. But if you are going to . . . have some backbone and go after them and
fight them as hard as they are fighting us, then it will get done sooner.”
104
      See Akins Declaration, page 66.
105
    See Initial Declaration, page 55 (“In light of these findings and the fact that the Union
has issued communications to its membership specifically encouraging them to slow down
the speed at which they taxi, it is my opinion that the increased taxi times the Company has
been experiencing since the Union sent its Section 6 notice is further evidence of a concerted
action by Atlas’s pilots aimed at disrupting Atlas’s operations to exert leverage during the
current contract negotiations.”). See also Initial Declaration, footnote 82.
                                                41
       Case 1:17-cv-01953-RDM Document 35 Filed 10/26/17 Page 42 of 44




III.    CONCLUSIONS
36. For the reasons described above, none of Mr. Akins’s criticisms of the analysis

   contained in my Initial Declaration have merit or would cause me to revise the

   conclusions reached in my Initial Declaration. Moreover, as a matter of basic statistical

   analysis, the analyses contained in Mr. Akins’s declaration (including his single-variable

   regressions) are either incorrect, irrelevant, or contain little—if any—probative

   information in understanding whether pilots have engaged in illegal conduct. Thus,

   having demonstrated that neither of Mr. Akins’s purported causes for the observed

   changes in pilot behavior or increase in operational disruptions (i.e., the Company’s

   growth or the claim that pilots are working more) alters the conclusions reached in my

   Initial Declaration, I have even greater confidence that the true cause of the Atlas’s

   deteriorating operational performance since the Union sent its Section 6 notice is

   concerted activity by its pilots aimed at exerting leverage on the Company during their

   current contract negotiations.




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Case 1:17-cv-01953-RDM Document 35 Filed 10/26/17 Page 43 of 44
      Case 1:17-cv-01953-RDM Document 35 Filed 10/26/17 Page 44 of 44




     APPENDIX A: LIST OF ADDITIONAL DOCUMENTS AND INFORMATION SOURCES
                                 CONSIDERED

1. Declaration of Daniel Akins, October 23, 2017.

2. Statement of Terry L. Von Thaden, Ph.D, October 23, 2017.

3. IBT Brief, October 24, 2017.

4. Declaration of William J. Flynn, October 20, 2017.

5. Supplemental Declaration of Jeffrey Carlson, October 23, 2017.

6. Declaration of Robert Kirchner, October 24, 2017.

7. October 3, 2017 Chairman’s Update.

8. Darin Lee and Nicholas Rupp, “Retracting a Gift: How Does Employee Effort
   Respond to Wage Reductions?”, Journal of Labor Economics, Volume 25, Number 4,
   October 2007, pp. 725-762.

9. Mas, Alexandre. “Pay, reference points, and police performance.” The Quarterly
   Journal of Economics 121.3 (2006): 783-821.

10. Kennedy, Peter. A Guide to Econometrics. MIT press, second edition, 1985.

11. Nicholas Rupp, “Do carriers internalize congestion costs? Empirical evidence on the
    internalization question”, Journal of Urban Economics, 65 (2009), pp. 24-37.

12. Yahoo Finance, https://finance.yahoo.com/quote/%5EGSPC/history?p=%5EGSPC,
    accessed October 24, 2017.

13. ATLAS00000001- ATLAS00030279.

14. Atlas Open Time Data For September 2017 (OT Data Sep 2017.xlsx).




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